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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA



UNITED STATES OF AMERICA,

                      Plaintiff,                            EXHIBIT LIST

         vs.
                                                   Case No.        8:13CR105
TIMOTHY DEFOGGI,
                                                   Deputy:         Gale Gomez and Kathy Griess
                      Defendant.
                                                   Reporter:       Brenda Fauber

                                                   Dates:           August 19-22, and 26, 2014




PLF       DFT   3     DESCRIPTION                              OFF    OBJ   RCVD   NOT     DATE
                PTY
                                                                                   RCVD

1                     PedoBook home page and tabs              X      R     X              8/19/2014

2                     Fuckchrist/PTasseater PedoBook screen    X      R     X              8/19/2014
                      shots
3                     Fuckchrist/PTasseater PedoBook group     X      R     X              8/19/2014
                      page screen shots

4                     Fuckchrist/PTasseater PedoBook private   X      R     X              8/19/2014
                      message screen shots
5                     Fuckchrist/PTasseater PedoBook user      X      R     X              8/19/2014
                      activity (11/19-12/8)
5A                    Fuckchrist/PTasseater PedoBook user      X      R     X              8/19/2014
                      activity 11/21
5B                    Fuckchrist/PTasseater PedoBook user      X      R     X              8/19/2014
                      activity 11/26
5C                    Fuckchrist/PTasseater PedoBook user      X      R     X              8/19/2014
                      activity 12/4

5D                    Fuckchrist/PTasseater PedoBook user      X      R     X              8/19/2014
                      activity 12/8
6A                    November 21, 2012 screen shots           X      R     X              8/19/2014

                                               1
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6B                   November 26, 2012 screen shots               X   R   X    8/19/2014
6C                   December 4, 2012 screen shots                X   R   X    8/19/2014
6D                   December 8, 2012 screen shots                X   R   X    8/19/2014
7                    Fuckchrist/PTasseater PedoBook user          X   R   X    8/19/2014
                     information and annotations
8                    Fuckchrist/PTasseater PedoBook user          X   R   X    8/19/2014
                     collections/groups

9                    Fuckchrist/PTasseater PedoBook private       X   R   X    8/19/2014
                     messages (all)

9A                   Fuckchrist/PTasseater PedoBook private       X   R   X    8/19/2014
                     messages
10                   Private Messages and E-mails exchanged       X   R   X    8/20/2014
                     with undercover agent

11                   Profile page – PedoBook user                 X   R   X    8/19/2014
                     noonewillknow321/TdlrLuvr

12                   PTasseater user activity – www.imgsrc.ru     X   R   X    8/20/2014
13                   PTasseater user profile and posts -
                     www.dickflash.com

14                   Subscriber and IP information, ptasseater,   X   R   X    8/20/2014
                     AOL.inc.

15                   Subscriber and IP information, Verizon       X   R   X    8/20/2014
                     Internet

16                   Subscriber and IP information, Verizon       X   R   X    8/20/2014
                     Internet

17                   Photos of laptop computer at defendant’s     X   R   X    8/20/2014
                     residence
18                   Photo living room                            X       X    8/20/2014
19                   Photo living room kitchen                    X       X    8/20/2014
20                   Photo stairs
21                   Photo master bedroom                         X       X    8/20/2014
22                   Photo master bedroom                         X       X    8/20/2014

23                   Photo stairs to basement
24                   Photo stairs to basement                     X       X    8/20/2014
25                   Photo basement couch                         X       X    8/20/2014
26                   Photo basement couch                         X       X    8/20/2014

                                                 2
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27                   Photo basement                             X       X      8/20/2014
28                   Photo car
29                   Photo basement desktop and flash drives
30                   Photo basement tv stand
31                   Photo living room                          X       X      8/20/2014
32                   Photo living room                          X       X      8/20/2014
33                   Photo dining room                          X       X      8/20/2014
34                   Photo dining room

35                   Photo basement stairs                      X       X      8/20/2014
36                   Photo basement landing                     X       X      8/20/2014
37                   Photo basement near stairs

38                   Photo basement tv and couch
39                   Photo basement

40                   Photo Verizon bill
41                   Photo Verizon bill
42                   Photo house exterior                       X       X      8/20/2014

43                   NIST local and daylight times (judicial    X       X      8/21/2014
                     notice)

44                   Transcript of defendant’s testimony from   X   R   X      8/21/2014
                     July 11, 2013, bond hearing (redacted)
45                   Photo running laptop download              X   R   X      8/20/2014

46                   Photo download on laptop close-up          X   R   X      8/20/2014
47                   ss.mp4 video (CD) (Redacted – Still        X   R   X      8/21/2014
                     shorts only to Jury)
47A-F                Photographs                                X       X      8/21/2014
48                   Image of laptop hard drive (physical)      X   R   X      8/21/2014
49                   Registry report- software                  X   R   X      8/21/2014
50                   Registry report – user account info        X   R   X      8/21/2014
51                   Registry report – NT user                  X   R   X      8/21/2014
52                   Graphics – CEM – laptop (REDACTED)         X   R   X      8/21/2014
53                   Graphics – CEM – toddler – laptop          X   R   X      8/21/2014


                                                  3
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54                   Browser activity                          X       X       8/20/2014
54A                  .onion site names from browser activity   X       X       8/20/2014
55                   PedoBoard – browser activity URLs
56                   PedoBook – browser activity URLs          X   R   X       8/21/2014
57                   OPVA – browser activity URLs              X   R   X       8/21/2014
58                   Hidden Wiki                               X   R   X       8/21/2014
59                   Parsed search queries                     X   R   X       8/21/2014
60                   Fuckchrist string search                  X   R   X       8/21/2014

61                   Messages in pagefile                      X   R   X       8/21/2014
62                   Firefox bookmarks                         X   R   X       8/21/2014
63                   Prefetch                                  X   R   X       8/21/2014

64                   OPVA homepage                             X       X       8/20/2014
65                   Electronic keycard access records         X       X       8/20/2014

66                   Plea Agreement – Charles MacMillan        X       X       8/20/2014
67                   CCleaner screen shot
68                   PedoBook screen shot – McGrath            X   R   X       8/19/2014

69                   PedoBook stats                            X   R   X       8/19/2014
70                   Imgsrc.ru screen shots                    X   R   X       8/20/2014

71                   ASUS Laptop (physical)                    X   R   X       8/21/2014
72                   E-Machines desktop (physical)
73                   PNY Flash Drive (physical)
74                   Picture – Omaha                           X       X       8/19/2014
75                   Picture of outside of perigon-Bellevue    X       X       8/19/2014
76                   Stipulated Agreement                      X       X       8/19/2014
77                   Stipulated Agreement                      X       X       8/20/2014
78                   Stipulated Agreement                      X       X       8/20/2014
79                   Stipulated Agreement                      X       X       8/20/2014
80                   E-mail from Michael Norris NOT TO         X       X       8/21/2014
                     JURORS

81                   Report of Examination NOT TO JURORS       X       X       8/21/2014


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82                   Letter to James Martin Davis from Michael     X   X       8/21/2014
                     Norris NOT TO JURORS

83                   Letter to James Martin Davis from Michael     X   X       8/21/2014
                     Norris NOT TO JURORS

84                   E-mail from Keith Becker to John Berry        X   X       8/21/2014
                     NOT TO JURORS



          201        Timothy Defoggi's CV                          X   X       8/22/2014

          202        Letter of Appreciation (LOA)-Seven
                     Rockets

          203        Source Statistics-OSI
          204        LOA-OSI

          205        Letter of Congratulations-OSI
          206        LOA-Military Detail
          207        Honor Graduate-Military Intelligence
          208        Cash Award-US Treasury
          209        Cash Award-US Treasury

          210        Certificate of Award-US Treasury
          211        COA-US Treasury

          212        COA-US Treasury
          213        COA-US Treasury
          214        LOA-State Dept., FBI

          215        LOA-State Dept.-Hurricane Katrina
          216        Certificate of Appreciation-State Dept.
                     Tsunami Task Force

          217        Certificate of Performance-State Dept.
          218        FCC Council-2 Year Term Appointment
          219        Discharge-US Air Force
          220        Discharge-US Army
          221        SF 50-State Dept. To Office of Intelligence
                     & Counterintelligence
          222        Certification-Security Plus                   X   X       8/22/2014
          223        Certification-Microsoft Certified             X   X       8/22/2014
                                                   5
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     224        Certification-Microsoft Certified Systems      X       X   8/22/2014
                Engineer (MCSE) 2003
     225        Certification-Microsoft Certified Systems      X       X   8/22/2014
                Engineer (MCSA) 2003
     226        Certification-MCSE 2000                        X       X   8/22/2014
     227        Certification-MCSE NT4                         X       X   8/22/2014

     228        Certification-Microsoft Certified              X       X   8/22/2014
                Professional, NT 4

     229        Certification-Cisco Certified Network          X       X   8/22/2014
                Professional

     230        Certification-Cisco Certified Network          X       X   8/22/2014
                Associate
     231        Certification-Certified Novell Instructor      X       X   8/22/2014

     232        Certification-Certified Novell Engineer        X       X   8/22/2014
                (CNE), Netware 4

     233        Certification-Certified Novell Administrator   X       X   8/22/2014
                (CNA), Intranetware
     234        Certification-CNA, Netware 4                   X       X   8/22/2014

     235        Certification-CNE, Netware 3x                  X       X   8/22/2014
     236        Certification-CNA, Netware 3x                  X       X   8/22/2014
     237        Certification-Federal Contracting Officer      X   R   X   8/22/2014
                Representative

     238        Course-National Intelligence University,       X       X   8/22/2014
                Research, Development, and Architecture

     239        Course-Counterintelligence Directorate,        X       X   8/22/2014
                Nuclear Technology For
                Counterintelligence
     240        Course-Special Investigators Academy
     241        Course-Counter-Terrorist Driving
     242        Course-Implementing and Administering
                Microsoft Windows 2000

     243        Course-Implementing and Supporting
                Microsoft Windows XP
     244        Course-2003 MCSE Upgrade

     245        Course-Windows 2000 Boot Camp


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     246        Course-Installing and Administering
                Windows NT5 (Windows 2000)
     247        Course-Administering Microsoft Windows
                NT4
     248        Course-Ethernet Network Analysis (1999)
     249        Course-Troubleshooting With Sniffer
                Network Analyzer
     250        Course-Ethernet Network Analysis (2002)

     251        Course-Cisco IP Telephony
     252        Course-Cisco International
                Troubleshooting
     253        Course-Cisco AS5200 Install and
                Configuration

     254        Course-Intro to Cisco Router
                Configuration

     255        Course-CIP Training
     256        Course-Managing Cisco Network Security
                (1999)

     257        Course-Advanced Cisco Router
                Configuration

     258        Course-Ciscoworks Fundamentals
     259        Course-Cisco Lan Switch Configuration

     260        Course-Cisco ATM Solutions
     261        Course-Managing Cisco Network Security
                (2002)
     262        Course-Cisco Aironet Wireless Site
                Survey
     263        Course-Cisco Aironet Wireless LAN
                Fundamentals
     264        Course-Securing Communications and
                Networks

     265        Course-Building Cisco Remote Access
                Networks
     266        Course-Building Scalable Cisco Network

     267        Course-Configuring BGP for Cisco
                Routers

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     268        Course-Building Cisco Multilayered
                Switched Networks
     269        Course-Secure PIX Firewall
                Fundamentals and Advanced
     270        Course-Cisco Secure Intrusion Detection
                System

     271        Course-HTML 1
     272        Course-HTML II

     273        Course-HTML III
     274        Course-CITRIX Metaframe

     275        Course-Information Assurance for
                Managers

     276        Course-Managing State Projects
     277        Course-Basic Leadership Skills
     278        Course-CICS for Network Operators
     279        Course-Privacy Awareness
     280        Course-Information Systems Security
                Awareness

     281        Course-Counterintelligence Automated
                Investigation Management System
     282        Course-Counterintelligence Orientation
     283        Course-Contracting Officer
                Representation

     284        Expanded Projects-Overview
     285        Expanded Projects-Definitions
     286        Second Sight Project Approval

     287        CARS Organizational Draft
     288        Cleaner Application-Wikipedia description

     289        Eraser Application-Developer Description
     290        TOR-Wikipedia Description
     291        Indian Health Service Performance
                Reports and Cyber-Security Plan
     292        Global Internet Usage-Wikipedia


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       293                 News Article, Omaha World-Herald
                           3/21/14 “Many Still At Risk As Windows
                           Nears End of Security For XP”
       294                 Email to HHS CSIRC referring to FBI
                           Reporting

       295                 News Article, Wall Street Journal,
                           5/30/2014, “China Hacking Deep,
                           Diverse”.
       296                 News Article, Time, 7/21/2014, “The Code
                           War” (Aurora, pg. 24)

       297                 IMGSRC Report-FBI
       298                 IMGSRC FAQ (Service Rules)

       299                 IMGSRC Album Categories
       300                 Excerpt from FBI Report RE: Torchat
       301                 Letter to John Berry dated 4/14/14
                           regarding partial disclosure related to
                           personal targeting by the FBI

       302                 Microsoft response to subpoena regarding
                           ptasseater@hotmail.com
       303                 IMGSRC user album comments
       304                 News article, Omaha World-Herald,
                           10/5/13, “End of Silk Road May
                           Strengthen Bitcoin”

       305                 News article, Time, 3/3/14, “Scrap Metal”

       306                 Health and Human Services, SF 50,
                           indicating pay raise
       307




OBJECTIONS

      R: Relevancy

      H: Hearsay

      A: Authenticity

      O: Other (specify)
                                                       9
